Circuit Court Summons Shelbyville, Tennessee

 

STATE OF TENNESSEE - COUNTY OF BEDFORD
17TH JUDICIAL DISTRICT
DAVID EARL ROACH,

PLAINTIFF,

CASE NO. [X37

V.

SANFORD, L.P. and’
NEWELL RUBBERMAID INC.,

DEFENDANTS.

To the above named Defendant: Sanford, LP (Serve through Registered Agent: Corporation Service -
Company, 2908 Poston Ave., Nashville, TN 37203); Newell Rubbermaid, Inc. (Serve through Registered
Agent: Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, DE 19808).

You are summoned to appear and defend a civil action filed against you in Circuit Court, Bedford
County, Tennessee, and your defense must be made within thirty (30) days from the date this summons is
served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to
the Plaintiff's attorney at the address fisted below.

In case of your failure to defend this action by the above date, judgment by default will be rendered
against you for the relief demanded in the complaint.

AD noc LL

Circuit Court Clerk, Bedford County, TN

By: CZ CALA

puty Clerk

ISSUED:

 

ATTORNEY FOR PLAINTIFF: H. Thomas Parsons, 101 W. Main Street, Manchester, TN 37355

 

NOTICE
TO THE DEFENDANT(S):
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy
a judgment. If a judgment should be entered against you in this action and you wish to claim property as exempt, you
must file a witten list, under oath, of the items you wish to claim as exempt with the clerk of the court. This list may be
filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the judgment
becomes final, it will not be effective as to any execution or garnishment issued prioer to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed; these include items of necessary wearing apparel for
yourself and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not
understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. [T.C.A. 26-2-114].

 

TO THE SHERIFF: Please execute this summons and make your return thereon as provided by law.

 

Circuit Court Clerk

Received this summons for service this day of , 2011.

 

Officer

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 10f13 PagelD #: 4
RETURN ON SERVICE OF SUMMONS

I hereby certify and return, that on the ____ day of _. , 2011, I served this

 

Summons together with the complain herein as follows:

 

 

 

OFFICER

RETURN ON SERVICE OF SUMMONS BY MAIL

, | sent, postage prepaid, by

 

I hereby certify and return, that on the day of 1
registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of

the complaint in Case No. to the defendant,

 

On the return receipt for said registered or certified mail, which had been signed by

on the day of 1

 

 

. Said return receipt is attached to this original summons and both documents are being send herewith

to the Circuit Court Clerk for filing.
SWORN TO AND SUBSCRIBED BEFORE ME ON

 

 

 

THIS DAY OF 1
NOTARY PUBLIC or _ DEPUTY CLERK — PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER
PERSON AUTHORIZED BY STATUTE TO
MY COMMISSION EXPIRES: SERVE PROCESS

Case 4:11-cv-00074-HSM-SKL Document 1-1

Filed 12/28/11 Page 2 of 13 PagelID#:5
IN THE CIRCUIT COURT FOR THE FIFTEENTH JUDICIAL DISCTRICT OF
TENNESSEE AT SHELBYVILLE

 

DAVID EARL ROACH, )
PLAINTIFF,
Vv. CASE NO. 1X37 F
SANFORD, L.P. and riled ea { swt FL) Ad,
NEWELL RUBBERMAID INC., ) THOMAS A. SMITH, CLERK
- DEFENDANTS. - - 2 SBDPOR > COUNTY, THNRGRRSS
COMPLAINT

 

Comes now the plaintiff, DAVID EARL ROACH (hereinafter “Mr. Roach”), and brings
this cause of action against the defendants, SANFORD, L.P. (hereinafter “Sanford”) and Newell
Rubbermaid Inc., and would show as follows:

PARTIES

l. Mr. Roach is a citizen and resident of Bedford County, Tennessee having an
address of 114 Maplewood Drive, Shelbyville, Tennessee.

2. Sanford is an active, for-profit, limited partnership formed in Illinois, operating
under the laws of Tennessee, and having a principal address of 2711 Washington Blvd,
Bellwood, IL 60104. Sanford’s registered agent for service of process is Corporation Service
Company having an address of 2908 Poston Ave., Nashville, Tennessee, 37203. Sanford
operates a production facility in Tennessee at 1658 Railroad Avenue, Shelbyville, Tennessee,
37160. Sanford is a subsidiary of Newell Rubbermaid Inc. In the alternative, Sanford is a

division of Newell Rubbermaid Inc.

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 3o0f13 PagelD #: 6
3. Newell Rubbermaid Inc. is an active, for-profit, corporation, incorporated in’
Delaware and having a principal place of business of Three Glenlake Parkway, Atlanta, GA,
30328. Newell Rubbermaid Inc.’s registered agent for service of process is Corporation Service
Company having an address of 2711 Centerville Road Suite 400, Wilmington, DE, 19808.
Newell Rubbermaid Inc. is liable for damages caused by Sanford because of the business
relationship between Newell Rubbermaid Inc. and Sanford.

JURISDICTION AND VENUE

4, The acts complained of herein occurred in Bedford County, Tennessee; therefore,
this Honorable Court has jurisdiction over his matter pursuant to Tenn. Code Ann. § 16-10-101,
and venue is proper in Bedford County, Tennessee pursuant to Tenn. Code Ann. § 20-4-101.

STATEMENT OF FACTS

5. Mr. Roach began working for Sanford at its Shelbyville, Tennessee production
facility as a temporary employee in or about October of 2009 and became a regular, non-
temporary, full-time employee on or about October 19, 2010.

6. Sanford makes writing instruments such as Sharpie marker pens at its Shelbyville,
Tennessee production facility.

7. Mr, Roach worked in distribution and shipping during his time of employment
with Sanford.

8. Mr. Roach’s employment with Sanford was terminated on October 13, 2011.

9. During Mr. Roach’s employment with Sanford, an employment-at-will

relationship existed between Mr. Roach and Sanford.

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 4of13 PagelD #: 7
10. On or about February 16, 2011, while working for Sanford, Mr. Roach felt a sharp
pain in his stomach after lifting a large heavy box as required by his job duties. Mr. Roach
reported the injury to a supervisor and filled out an incident report.

11. The morning after the injury, Mr. Roach noticed a large bulge protruding from his
stomach.

12. Initially, Mr. Roach was treated for about two (2) months by the nurse practitioner
employed by Sanford for what ultimately was diagnosed as a hernia.

13. Near the end of April of 2011, the pain Mr. Roach was experiencing from the
work-related injury became intolerable requiring Mr. Roach to leave work early. The pain
continued to be extreme and Mr. Roach could not return to work.

14. Mr. Roach kept his employer informed about his condition and made contact with
the company’s nurse practitioner daily.

15. Sanford’s nurse practitioner referred and arranged for Mr. Roach to see a
specialist, Dr. Ronald Angles, about his medical condition.

16. Dr. Angles diagnosed Mr. Roach with a hernia.

17. Mr. Roach immediately made an appointment with Dr. Monahan, a surgeon, and
informed his employer of his condition. |

18. Mr. Roach was seen by Dr. Monahan on or about May 2, 2011. Dr. Monahan
scheduled Mr. Roach’s surgery for May 10, 2011 and allowed Mr. Roach to return to work with
restrictions. . |

19. On or about May 3, 2011, Mr. Roach returned to work under the restrictions

placed on him by Dr. Monahan until the night before his surgery.

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 5of13 PagelD#: 8
20. Dr. Monahan performed a hernia surgery on Mr. Roach on or about May 10,
2011.

21. Mr. Roach missed approximately eight (8) days of work prior to the hernia
surgery and approximately seven (7) days while he was recovering from the surgery.

22. During the time that Mr. Roach missed work prior to the hernia surgery, he kept
Sanford informed about his condition and stayed in contact with Sanford’s nurse practitioner.

23. Because of his injury, Mr. Roach made a claim and received benefits under
Sanford’s worker’s compensation plan.

24. Following his recovery from hernia surgery, Mr. Roach returned to work full-time
at Sanford.

25. On or about September 6, 2011, Mr. Roach suffered from a non-work-related
kidney problem that required him to spend two (2) nights in the hospital.

26. Upon being released from the hospital, Mr. Roach reported back to work on time
for his normal shift; however, Sanford’s nurse practitioner would not clear him to return to work
until the following night’s shift.

27. About a week after his hospitalization for the for the kidney problem, members of
Sanford’s management began to frequently question Mr. Roach about the days that he missed
related to the hernia he suffered in February of 2011, telling him that he must provide doctor’s
notes for the time he missed related to the hernia. Mr. Roach informed them that he had been
under the treatment of their nurse practitioner for his work-related hernia injury and provided
doctor’s notes for the days that he was under the care of doctors.

28. On October 11,2011, Mr. Roach was suspended by Sanford.

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 6of13 PagelD #: 9
29. Mr. Roach was told by a Sanford human resources employee that he was being
suspended because he could not provide documentation about the days he missed related to his

work-related hernia injury.

30. On October 13, 2011, Mr. Roach’s employment with Sanford was terminated by
telephone while he was on his way into work.

31. The reason given by Sanford for terminating Mr. Roach was that Mr. Roach did
not provide documentation about the days he missed related to his work-related hernia injury.

CAUSE OF ACTION

32. Plaintiff restates and incorporates the allegations contained in the previous
paragraphs.

33.  Sanford’s stated reason for terminating Mr. Roach was pretextual.

34. By making a claim for worker’s compensation benefits, Mr. Roach was exercising’
a Statutory right under Tennessee law.

35. Mr. Roach was terminated from his employment for making a claim for workers’
compensation benefits.

36. The claim for-worker’s compensation benefits, an exercise of a statutory right,
was a substantial factor in Sanford’s decision to discharge Mr. Roach.

37. Sanford’s termination of Mr, Roach for exercising a protected right is a clear
violation of public policy and amounts to retaliatory discharge under Tennessee common law.

38. -Asa direct and proximate cause of Sanford’s conduct, Mr. Roach has suffered
losses, including but not limited to, lost wages and benefits, shame, humiliation and

embarrassment, and lost earning capacity.

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 7 of13 PagelD #: 10
39. Upon information and belief, the actions of Sanford are in violation of the law and
were performed intentionally, with malice and/or in reckless disregard and indifference to Mr.
Roach’s protected rights, and, furthermore, Sanford knew or should have known that its conduct
was prohibited by law. Mr. Roach is therefore entitled to and seeks punitive damages.

Wherefore, Plaintiff David Earl Roach respectfully requests:

I. That Defendant be served with process requiring them to answer this Complaint.

2. Compensatory damages, consequential, and incidental damages, including but not
limited to emotional damages, damages for humiliation and embarrassment, lost wages, lost
benefits, and damages for future lost pay and lost benefits that Plaintiff would have accrued if his
employment had not been terminated in the amount of $500,000.00 or such other amount as may
be determined by this Honorable Court.

3. Punitive damages of $1,500,000.00 or such other amount as may be determined
by this Honorable Court. |

4, That costs and attorneys’ fees be paid by the defendant.

5. Such further and general relief as this Honorable Court may deem just and proper.

Respectfully submitted,
PARSONS & NICHOLS

By: AO, cv Vora

H. Thomas Parsons, BPR# 2571
Parsons & Nichols

Attorney for Plaintiff

101 W. Main St.

Manchester, TN 37355
931-728-1316

We are surety for costs up to $500.00

H. Thomas Parsons

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 8of13 PagelD #: 11
PREPEPTEPEUEPPPAAPERPEP ECD Ap BPO Pegs cey pre eee pep crate. . Sirs LtRoese. TF
. ro-S60bz000 . .
: G I C¢ ~F a 000! 80861 JQ ‘YOu

oe

i | il MUI semererere, “OOP SUNS “PY SMMOWSS 1122
1 een RON fuvisaxmn = KUBAUIOD BdINNOS e}e0dIOD
| .

Sony HTN Ea
_sovistd’s7n HENAN Doe

 

 

—_— | ee

“40-S60>2000 80861

. pI 0S il l mn _. DbAS BORA EDOO OLho Troe
ee |
HU

INN y | DIAS WLSOd
S3LVLS OFLINN
1 eR ne OZ
Scé/e SF
r LSU Te ONE | | | I —a
> bee of ad. : _ : . a .
fe) | AR . ” +E TE met
(cme aes . So | : ae UTE:

sae
yar

 

     

SGELE aes raUUay, “La7vayouD)y>
FRIIS UY WIA LOL
az Jo vhanop{co

spoyoy > £3 VUOTUO fy

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 9 of 18 PagelD #: 12
DAVID EARL ROACH,

 

Circuit Court Summons Sheibyville, Tennessee

STATE OF TENNESSEE - COUNTY OF BEDFORD
17TH JUDICIAL DISTRICT

PLAINTIFF,

V.

2D
CASE NO. JK3 Z I

SANFORD, L.P. and
NEWELL RUBBERMAID INC.,

eet Meme Seweet Seeer Nee Set eer et ee ee

DEFENDANTS.

To the above named Defendant: Sanford, LP (Serve through Registered Agent: Corporation Service .
Company, 2908 Poston Ave., Nashville, TN 37203); Newell Rubbermaid, Inc. (Serve through Registered

Agent: Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, DE 19808).

“-Yoii Aré SUMmM*diied to’ appear and defend a civil action filed against you in Circuit Court, Bedford

County, Tennessee, and your defense must be made within thirty (30) days from the date this summons is
served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to

the Plaintiff’s attorney at the address listed below.

In case of your failure to defend this action by the above date, judgment by default will be rendered
against you for the relief demanded in the complaint.

ISSUED: , 2011,

 

Circuit urt Clerk, Bedford County, TN

  
 
 

By:
Deputy Clerk

   

ATTORNEY FOR PLAINTIFF: H. Thomas Parsons, 101 W. Main Street, Manchester, TN 37355

 

NOTICE ,
TO THE DEFENDANT(S): a
Tennessee Jaw provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satis
a judgment. If a judgment should be entered against you in this action and you wish to claim property as exempt, you
must file a witten list, under oath, of the itpms you wish to claim as exempt with the clerk of the court. This list may be
filed at any time and may be changed by you thereafter as necessary; however, unless it is filed before the judgment .
becomes final, it will not be effective as tojany execution or garnishment issued prioer to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed; these include items of necessary wearing apparel for
yourself and your famify and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and schoo! books. Should any of these items be seized you would have the right to recover them. If you do not
understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. [T.C.A, 26-2-114].

TO THE SHERIFF: Please execute this summons and make your return thereon as provided by law,

 

Circuit Court Clerk

_ Received this summons for service this___dayof_. i, 2042.

 

Officer

Case 4:11-cv-00074-HSM-SKL Document 1-1 ‘Filed 12/28/11 Page 10of13 PagelD#:13 °
 

 

RETURN ON SERVICE OF SUMMOWS

I hereby certify and return, that on the ___ day of , 2011, I served this

 

summons together with the complain herein as follows:

 

 

OFFICER

RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify and return, that on the 73! dy orlmemter r Zell, I sent, postage prepaid, by

registered return receipt mail or certified return receipt mail, a certifled copy of the summons and a copy of
the compiaint in Case No. 2377 to the defendant, awetl Ay

_On the return receipt for said registered or certified mail, w yt ad had been signed by
? on the day of Wromber '

Said return, receipt is attached to this original summons and both documents are being send herewith

to the Gifts Calrioigt for filing.

swosi. ANRDABES Saieep BEFORE ME ON
Aieinhin at
it

 

anes
a

Ne

 

 

ister “DEPUTY CLERK <—-PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER
' PERSON AUTHORIZED BY STATUTE TO

 

 

fe tae ogee

for ua veURL .
Hh _ jo
MY COMMISSION EXPIRES: [ 7 GA SERVE PROCESS

   
  

 

 

 

inplete tems 1, 2, and 3. {iso complete °
- tem4 It Restricted Delivery is desired. ° 4 . wy ClaAgent *
ri -Print your name and addrees on the reverse AZ. we BL Adtressse |
80 that we.can return the card to you. TB by CRaaigit Naina) |G. Date of Delivery;
ja oh this: card to the baok of the maliplece, Saar) ie | one
the front itepae permite, A oS eee eee

 

  
 
  

i Hote Aacreseea to:

   

yt wees. : :
: ” et” 2H) Md
oo CHEAT
aU oat Sa neta :
Registered svelpt for Merchandise
..E)-neured Mall: ae

foe

 

  

 

 

 

 

 

 

ue we epee fa ‘led Dei ta Fe) "HY
2 Ai _ 7021 0470 0003 4805 5h83_ pe
= Form 3811, February 2004 Domestic Retum Receipt Reale 102508-02.M-1540

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 11of13 PagelID#: 14
 

Circuit Court Summons Shelbyville, Tennessee

STATE OF TENNESSEE - COUNTY OF BEDFORD
-17TH JUDICIAL DISTRICT

‘DAVID EARL ROACH,

PLAINTIFF,

CASE NO. L2387T79

Vv.

SANFORD, L.P. and
NEWELL RUBBERMAID INC.,

me net et ee Ne eee Nes

‘DEFENDANTS.

To the above named Defendant: Sanford, LP (Serve through Registered Agent: Corporation Service
Company, 2908 Poston Ave., Nashville, TN 37203); Newell Rubbermaid, Inc. (Serve through Registered
Agent: Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, DE 19808).

” "You are Summoned to appear and defend a civil action filed against you in Circuit Court, Bedford
County, Tennessee, and your defense must be made within thirty (30) days from the date this summons is
served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to

the Plaintiffs attorney at the address listed below.

In case of your failure to defend this action by the above date, judgment by default will be rendered
against you for th¢ relief demanded in the complaint.

Circuit Ceurt Clerk, Bedford County, TN

ISSUED:

 

 

 

ATTORNEY FOR PLAINTIFF: H. Thomas Parsons, 101 W. Main Street, Manchester, TN 37355

 

NOTICE

TO THE DEFENDANT(S): . . ; .
Tennessee law provides a ten thousand dollar {$10,000) personal property exemption from execution or seizure to satisfy
a judgment. Ef a judgment should be entered against you in this action and you wish to claim property as exempt, you

he items you wish to claim as exempt with the clerk of the court. This list may be }

must file a witten list, under oath, of t
filed at any time and may be changed by yor thereafter as necessary; however, unfess it is filed before the Judgment

becomes final, it will not be effective as to

items are automatically exempt by faw andjdo not need to be listed; these include items of necessary wearing apparel for

yourself and your family and trunks or othd¢r receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books, Should any of these items be selzed you would have the right to recover them. If you do not
understand your exemption right or how to. exercise it, you may wish to seek the counsel of a lawyer. [T.C.A. 26-2-114].

TO THE SHERIFF: ‘Please execute this summons and make your return thereon as provided by law.

 

Circuit Court Clerk

Received this summons for service this day of , 2011.

 

Officer

Case 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 12 o0f13 PagelD #: 15

y execution or garnishment issued prioer to the filing of the list. Certain \ 8
RETURN ON SERVICE OF SUMMUNS .

I hereby certify and return, that on the ____ day of , 2011, I served this

 

 

summons together with the complain herein as follows:

 

 

 

OFFICER

RETURN ON SERVICE OF amon BY MAIL

I hereby certify and return, that on the Pe Ga day of ; Goll , | sent, postage prepaid, by

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of

the complaint in Case No, [22 19 to the defendant, Sanford LP

- On the return Fecelpt for sald registered or certified mail, which had been. n signed by
on the ¢ day of : '
_ Said return receipt is attached to this original summons and both documents are being send herewith

 

 

to the Circult Court Clerk for filing.

no
ZAAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER
PERSON AUTHORIZED BY STATUTE TO

SERVE PROCESS

 

 

 

       

   

>. Sil i rome? Ol “\
"IF YES, enter delivery ackiress below: 4 oh

 

ice Ge- | oS
gi ks fe the ; a oe ,

) VE,
1606

   

 

 

 

 

 

 

 

 

 

° meric be 9g4 ‘a470 0003 4804 500
3811, February 2004 " Domestle Retum Resalpt ROACH — Aoa5as- 02-1640 5

' PS FO
@ase 4 4:11-cv-00074-HSM-SKL Document 1-1 Filed 12/28/11 Page 13 0f13 PagelD #: 16
